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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

WILLIAM DAVID SEAL PLAINTIFF
V. CIVIL ACTION NO. 1:08CV175-LG-RHW

HARRISON COUNTY, MISSISSIPPI BY AND

THROUGH ITS BOARD OF SUPERVISORS;

GEORGE PAYNE; WAYNE PAYNE; DIANE GASTON RILEY;
STEVE CAMPBELL; RICK GASTON; RYAN TEEL,
PRESTON WILLS, CORRECTIONS OFFICERS JOHN

DOES 1-2; AMERICAN CORRECTIONS ASSOCIATION;
JAMES A. GONDLES, JR.; AMERICAN CORRECTIONS
ASSOCIATION EMPLOYEES JOHN AND/OR JANE

DOES 1-3,; HEALTH ASSURANCE LLC; HEALTH
ASSURANCE, LLC EMPLOYEES JOHN AND/OR JANE
DOES 1-2 DEFENDANTS

STATE OF MISSISSIPPI
COUNTY OF HARRISON

AFFIDAVIT OF GIBRAN WERBY

PERSONALLY CAME AND APPEARED BEFORE ME the undersigned authority in and
for the County and State aforesaid, the within named, GIBRAN WERBY, who, after first being duly
sworn by me on his oath, did depose and state.the following:

I. My name is GIBRAN WERBY , and Iam over the age of twenty-one (21) years. I

was a Task Force Agent with the Federal Bureau of Investigations beginning in 2003
until 2006, I was also an investigator with the Professional Standards unit at the
Harrison County Sheriff's Department from 2001 to 2003. During the relevant time
period the Harrison County Adult Detention Center was suffering from loss of

personnel, electricity, water and was operating on a very limited number of staff due

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to Hurricane Katrina. As a Task Force Agent with the Federal Bureau of
Investigations, I was given a month off from my normal duties with the Federal
Bureau of Investigations, at which time I was contacted by the Harrison County
Sheriff's Department to assist in some investigations at the Harrison County Adult
Detention Center. I have personal knowledge of the matters and facts contained in
this Affidavit and I am competent to testify to the matters stated herein.

2. When assisting the Professional Standards unit at the Harrison County Adult
Detention Center, I was charged with the primary responsibility of investigating the
complaints of alleged employee misconduct and complaints of excessive use of force
by Harrison County Sheriff's Department officers. If the alleged incident occurred
in the Harrison County Adult Detention Center booking department, my usual and
customary practice would be to view surveillance recordings of the booking room at
the applicable time.

3, On September 19, 2005, Harrison County Professional Standards OIC, Captain Steve
Campbell, at the direction of Sheriff George Payne, Jr., instructed myself to
investigate the emailed complaint of William David Seal. As part of my
investigation, I interviewed a nurse, booking officers, examined documentation and
reports, and viewed the digital recordings of the booking procedure on Seal.

4, Specifically, on September 27, 2005, myself along with Captain Campbell viewed
the digital recordings and the video clearly showed Seal moving his left hand from
the booking desk and attempting to strike booking deputy Morgan Thompson and
thus causing deputy Wills to use a defensive tactic to gain compliance of Seal and

restrain him on the ground and cuff him.

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5. Upon completion of my investigation, I concluded that Seal was continuously
disorderly to booking deputies during the booking procedure and that he attempted
to strike a booking deputy. I also concluded that booking deputies used force to
restrain Seal and followed procedures as outlined in the Policies and Procedures.
Therefore, I concluded William David Seal’s complaint of the alleged use of
excessive force was unfounded along with his other allegations.

6. I do not have a copy of this digital recording nor did I ever receive a copy of this
digital recording.

7. Upon conclusion of my investigation, I have no knowledge of what happened to the
recording of Mr. Seal’s booking at the Harrison County Adult Detention Center.

8. Pursuant to General Order #65, I maintained files of all my internal investigations.
[ have attached hereto as Exhibit “I"relevant portions of the investigative file of
case number [A2005-25, which involve the investigation into Plaintiff's booking at
the Harrison County Adult Detention Center, and specifically the conduct of Deputy
Thompson and Deputy Wills, Exhibit “1" is the Internal Affairs Report dated
September 27, 2005.

I certify the above declaration is true and correct under penalty of perjury.

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Affiant/Gibran Werby <o—"
Harrison County, Mississippi
Sworn to and sabsertbed before me on this the” AW day of September, 2009.
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(SEAL)

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